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9
                               UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11                                SAN FRANCISCO DIVISION

12

13                                                      Case No. 3:18-cv-02454

14    FEDERAL TRADE COMMISSION,
                                                        PLAINTIFF’S NOTICE OF
15           Plaintiff,                                 MOTION, MOTION FOR
             v.                                         SUMMARY JUDGMENT, AND
16
                                                        MEMORANDUM IN SUPPORT
17    LENDINGCLUB CORPORATION,                          THEREOF

18    d/b/a Lending Club,                               Hearing:

19           Defendant.                                 Date: April 27, 2020
                                                        Time: 9:00 a.m.
20                                                      Courtroom: F
                                                        Judge: Hon. Jacqueline Scott Corley
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     PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT                       Case No. 3:18-cv-02454-JSC
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1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

2           PLEASE TAKE NOTICE THAT on April 27, 2020, at 9:00 a.m., or as soon thereafter as

3    the matter may be heard before the Honorable Jacqueline Scott Corley, in Courtroom F, 15th

4    Floor, of the United States District Court for the Northern District of California in the San

5    Francisco Courthouse, 450 Golden Gate Avenue, San Francisco, California, 94102, Plaintiff

6    Federal Trade Commission (“FTC”), will and does move this Court, pursuant to Rule 56 of the

7    Federal Rules of Civil Procedure, for an order granting summary judgment in the FTC’s favor on

8    all counts of the FTC’s First Amended Complaint.

9           The FTC’s Motion is based on this Notice of Motion and Motion, the accompanying

10   Memorandum of Points and Authorities, the concurrently filed Declaration of Katharine Roller

11   with attached Exhibits, any other matters of which the Court may take judicial notice, other

12   documents on file in this action, and any oral argument of counsel.

13   Dated: February 27, 2020                                      /s/ Katharine Roller
14                                                                 KATHARINE ROLLER
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1    STATEMENT OF UNDISPUTED MATERIAL FACTS

2          I.      Defendant Falsely Told Consumers They Would Receive a Specific Loan
                   Amount With “No Hidden Fees.”
3
            1.     From at least 2012 until after this lawsuit was filed, Defendant has stated that
4
      consumers will receive a specific loan amount with “no hidden fees.” See Parts I.A and I.B.
5
            2.     When consumers receive their loan proceeds, however, the funds are hundreds or
6
      thousands of dollars short of the promised loan amount, because Defendant charges borrowers
7
      an up-front fee (called an “origination fee,” “marketplace fee,” or “program fee”) averaging
8
      approximately 4.65% of the consumer’s loan amount, deducted from borrowers’ loan proceeds
9
      before those proceeds are disbursed to borrowers’ bank accounts. Amended Answer
10
      (“Answer”), Dkt. 81, at ¶ 10, 23.
11
            3.     Borrowers are obligated to pay the entire loan amount and thus must “repay” the
12
      amount they never received and pay interest on it. Answer ¶ 24.
13
            4.     More than          borrowers contacted Defendant to ask why they did not receive
14
      the full loan amount or to express confusion or anger about the missing money. See Part I.D.
15
            5.     Defendant was aware that many consumers did not know about the fee, and that
16
      this posed a risk to the company under “unfair, deceptive, or abusive acts or practices”
17
      (“UDAAP”) laws. See Part I.E. Employees, infra ¶¶ 60-63; 72-75, business partners, infra ¶¶
18
      71-76; Answer ¶ 26, and auditors, infra ¶ 76; Answer ¶ 26, all told Defendant that it should not
19
      advertise “no hidden fees” without clearly and conspicuously disclosing the up-front fee.
20
            6.     Defendant continued representing that consumers would receive a specific loan
21
      amount with no hidden fees until February 2019, and continued expressly stating “no hidden
22
      fees” until after the FTC filed this lawsuit in April 2018. PX 203 at 13-15.
23
            A. Defendant’s Online Application Flow
24
            7.                                                                              PX 195.
25
            8.     On Defendant’s homepage, for most of the relevant time period, consumers
26
      seeking a personal loan were prompted to enter their desired loan amount in a box labeled
27
      “How much do you need?” Due to the up-front fee, consumers would not, however, receive the
28
      full amount they entered. Similarly, the homepage said that consumers could receive loans “up

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1     to $40,000.” Defendant admitted

2                                                                          ” PX 15.

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12
            9.     The next page of the application has prompted consumers to enter personal
13
      information with the statement: “Get a custom rate for your $10,000 loan in 1 click.”
14
            10.    The next page is called the “Loan Offer” page:
15

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25          11.    At the top of the page, Defendant advertised a specific “Loan Amount,” the only

26    item in bold type on the page. To the right, under a smiling masked bandit, Defendant stated,

27    “No hidden fees.” The up-front fee is not mentioned on this page.

28          12.    Around January 2018, Defendant redesigned this page, but the “No hidden fees”


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1     claim and bandit remained, and the fee was still omitted. PX 203 at 11.

2           13.    On the desktop version of the Loan Offer page, next to the small-print word

3     “APR,” there is a small green dot—called the “tooltip”—with a white question mark inside.

4     Only if consumers clicked on or hovered over this dot would they see a pop-up explaining how

5     the APR is calculated, and, further down, that Defendant charges each consumer an up-front

6     fee that is deducted from the consumer’s loan proceeds.

7

8

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12
            14.    On the mobile version of this page, the tooltip was presented differently. Instead,
13
      if a consumer tapped on the APR—not the word “APR,” but the rate itself—the pop-up text
14
      would appear. (There is no “hover” ability on a mobile device.)
15

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            15.
27
             , PX 49, and                                                 PX 48.
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1              16.    The fee disclosure “remains hidden” if the tooltip is not activated. PX 194.

2              17.    Defendant was aware that

3                     Cf. PX 194 183:7-22; PX 51.

4

5                                                             PX 193 77:24-25 and 78:12-15.

6              18.    Defendant’s data regarding tooltip activation—desktop or mobile—

7                                                                                  Compare PX 33

8                                                             with PX 202
                                                              1
9               and PX 50

10

11

12                                     .

13             19.    Earlier versions of the Loan Offer page were materially the same:

14

15                                                            PX 1-4.

16             20.

17

18                            PX 52. To consumers, however, Defendant only showed the version of

19       the page that omitted the fee. PX 203. Similarly, the Loan Offer page for Defendant’s business

20       loans has listed the up-front fee. PX 190, PX 191.

21

22                                         PX 47. Defendant did not do so. PX 1-6.

23             21.    If applicants clicked “Get Loan,” they arrived at a page requesting additional

24       personal information, and then reached the Loan Rate & Terms page, also called the “TILA” or

25       “TIL” page. An exemplar appears in PX 3 at Page 5. At the top of the page is the grey Federal

26       Box, which lists certain required items such as the APR and the total of payments.

27
     1
28    Defendant measures only activations—clicks or hovers—of the tooltip, not the number of
     consumers who read the text. See PX 33; PX 50; PX 202.

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1           22.    More than halfway down the page Defendant lists the “Total Amount Requested,”

2     “Origination Fees,” and “Total Amount Received.” This itemization appears between two

3     unrelated paragraphs, with no heading or typographical emphasis. Indeed, it appears in

4     unbolded type but the preceding paragraph is bolded. See PX 194 62:19-63:2.

5

6           23.    The itemization also appears “below the fold”—meaning that applicants must

7     scroll down—even on a desktop display. Answer ¶ 30. On many mobile devices, consumers

8     would have to scroll down approximately three times to see the itemization. PX 7 ¶ 10.

9                                                                . PX 53.

10          24.    From the middle of 2013 to January 6, 2017, the mobile version of Defendant’s

11    loan application featured a large, green “I agree” button at the top of the TILA page. See PX 4

12    at page 5. Pressing this button permitted consumers to move forward with their application

13    without ever seeing any of the TILA disclosures. Answer ¶ 32

14          25.    Although Defendant has made small cosmetic changes to this page, the desktop

15    version has remained materially the same since 2013. PX 204 at 10-12, 18.

16          26.                                                                           PX 48

17

18                                                                   PX 199 118:4-9

19

20                                                      PX 16

21

22          27.    The page after the TILA page requests the applicant’s bank account information,

23    after which applicants are taken to the “Account Summary” or “To-Do List” page. PX 204.

24

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1           28.    The top of this page stated “Your $[amount] loan is on the way. What’s next?”

2     The stated amount was not “on the way”; due to the $500 up-front fee, in this example only

3     $9,500 would reach the consumer’s bank account.

4           29.    Defendant’s website also includes a “Rates and Fees” page located outside (and

5     not linked from) the loan application flow. See Exs. 1-6. To reach the page, instead of clicking

6     the “Check Your Rate” link to apply for a loan, consumers browsing the home page would

7     need to navigate to the “Personal Loans” page and then navigate to the “Rates & Fees” page

8     from there. Dkt. No. 30-1.

9           30.          of consumers who completed an application visited the page, which

10    mentioned the up-front fee. PX 205. From at least July 2018 on, those who visited the page

11    would only learn of the up-front fee if they scrolled below the fold. Dkt. No. 30-1.

12          B. Defendant’s Advertisements

13          31.    At least         of borrowers came to Defendant’s website after reading one of

14    Defendant’s mail advertisements, PX 206, and Defendant mailed

15    advertisements per month, see, e.g., PX 58 (

16          32.    Many mail advertisements, until at least September 2018, featured the “no hidden

17    fees” claim. See, e.g., PX 63; PX 54-57; PX 59;.

18          33.    Many mail advertisements featured mock checks payable to a consumer for round

19    numbers such as $40,000. See, e.g., PX 60-62.

20          34.    Other mail advertisements stated—among a list of loan terms such as “Amount”

21    and “Rate”—“FEES: there are no hidden fees or prepayment penalties.” See, e.g., PX 63.

22          35.    In all of these mail advertisements, the up-front fee was disclosed only in small-

23    print footnotes or on the back of the page. PX 54-56, 63.

24          36.    Many of Defendant’s email advertisements also included the “no hidden fees”

25    claim, see, e.g., PX 65-67,

26                                      See, e.g., PX 64.

27          37.    At least         of borrowers applied for a loan through Defendant after clicking

28    a link in an email advertisement. PX 206.


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1           38.    Defendant also made the “no hidden fees” claim and “up to $40,000” claim in

2     banner advertisements widely accessible online, Answer ¶ 14; PX 68, and in sponsored posts

3     on finance websites and blogs. One such blog post stated, “[O]nce you’re approved, your

4     money goes straight into your account, with no hidden fees.” Answer ¶ 14; PX 69.

5           C. The Loan Amount and “No Hidden Fees” Claim Affected Consumers’ Behavior.

6           39.

7                                      . PX 72. In addition,

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12          40.    Defendant’s head of marketing acknowledged that

13                                                     PX 195 29:11-18; see also PX 196; PX 180

14    75:20-76:3

15

16

17          41.    Consumers who complained often specifically mention the “no hidden fees”

18    statements and the promised loan amount in their complaints. See, e,g., PX 246, Cases

19    6682685, 7289579; PX 7 at Ex. A, Ref. Nos. 94934232, 95202207, 99546933, 95391186.

20          42.    Defendant’s representations that consumers would receive specific loan amounts

21    also affected consumers’ decisions about whether—and how much—to borrow from

22    Defendant. PX 246; PX 7 at Ex. A; PX 11 ¶ 7; PX 74; PX 76.

23          43.    For example, many consumers needed a specific amount to cover the cost of a

24    specific expense or purchase, such as a medical bill or moving expenses. PX 10 ¶ 7; PX 7 at

25    Ex. A. See, e.g., PX 246, Cases 126209, 02388652, 02943451. Others needed a specific

26    amount to pay off existing debts. PX 12 ¶ 7; PX 73; PX 75; PX 78; PX 246.

27          44.

28


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1

2                   PX 15

3                                            PX 15. No disclaimer was ever added. PX 7 ¶ 11.

4           D. Consumers Complained About the Up-Front Fee.
5           45.

6

7           PX 228.

8           46.    Between September 2015 and March 2018, Defendant sent the form response

9            times. PX 207. Defendant agrees the number of complaints about this issue can be

10    extrapolated from the number of times the form response was sent, multiplying that number by

11    four since email contacts make up approximately 25% of all consumer contacts to Defendant.

12    Answer ¶ 10 n.3. This suggests that the number of consumers who contacted Defendant to ask

13    why they did not receive the full loan amount during that two-and-a-half-year period is at least

14           . See examples of consumer call transcripts, PX 73-78, 80-82

15          47.    In addition, Defendant determined

16

17                                                                                    PX 204.

18          48.    Both the          figure and the       figure are undercounts. Not all consumers

19    take the time to contact the company. PX 220 63:3-13; PX 13 ¶ 11; PX 213 at 63-64. And

20    Defendant also discouraged borrowers from contacting the company in favor of looking for

21    answers themselves on the company website – for example, by removing “Contact Us” links

22    on Defendant’s website. PX 195 82:2-83:18.

23          49.

24

25

26    PX 83; PX 246. So defined, Defendant received hundreds of additional “complaints” regarding

27    the up-front fee, in addition to the foregoing “inquiries,” including complaints from consumers

28    after this suit was filed. PX 246.


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1                 50.   Additional consumers complained to governmental or nonprofit agencies. PX 7 at

2        Ex. A.

3                 51.                                                                      , e.g., PX 86;

4        PX 85,
                                           2
5                                              PX 82.

6                 52.                                                                      .3

7                 53.

8                                                       . See PX 94

9

10                                                                                      One training

11       document lists “I didn’t receive the full loan amount” as a frequently asked question, PX 93;

12       Answer ¶ 26,

13

14                                                              PX 95.

15             PX 79

16                54.

17

18                                                      PX 96, and

19

20                               PX 229.

21

22   2
       Defendant acknowledged that
                       PX 84.
23   3
       See, e.g.,
24

25

26

27

28


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1           55.

2

3

4           PX 100 at 5.

5

6                                                                                                PX 99.

7     See also PX 97, PX 98, Answer ¶ 26 (Quarterly complaint reviews recommending

8     “highlighting origination fee” to address complaint volumes).

9           56.    Defendant has argued that consumers dissatisfied with the up-front fee could have

10    canceled their loans. But

11

12

13                   PX 70.

14

15                                                 PX 102. One of Defendant’s compliance

16    employees observed, “LendingClub will allow a borrower to cancel a funded loan,” but “[i]t’s

17    not something that’s advertised to customers.” PX 192; See also PX 101.

18          57.                                                                                 , PX

19    103, a time period in which many consumers may not have checked their bank statements. PX

20    12 ¶ 6. In addition, consumers could only cancel if they still had all of the loan proceeds on

21    hand, PX 220 124:3-7, but many consumers may have spent some portion of the proceeds

22    before discovering the fee, or may have wished to cancel but needed to use the proceeds for a

23    time-sensitive expense such as moving costs, PX 10 ¶ 13.

24          58.    In spite of these obstacles, many consumers did cancel their loans because they

25    were upset about the origination fee. See, e.g., PX 7 ¶ 9; PX 195; PX 104; PX 93; PX 108.

26          E. Defendant Knew It Was Deceiving Consumers.

27          59.

28


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1

2                                                   PX 48.

3         60.

4

5                                                            PX 106.

6         61.

7

8                   PX 88.

9         62.

10                                         PX 19.

11        63.

12

13                                                                      PX 107.

14        64.

15

16                                PX 20.

17

18                    PX 20.

19        65.

20

21

22

23

24                                                                        . PX 18.

25        66.

26

27

28


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1                                                PX 21.

2           67.

3

4                  PX 22; PX 23; PX 109; PX 218; PX 110; PX 23; PX 24; PX 111.

5

6                                             PX 193 89:10-12, 15-17.

7           68.

8

9                                                                   PX 193 70:1-10; see also

10    supra ¶ 34

11                                   PX 26.

12

13

14                                                                      PX 25.

15          69.

16

17        . PX 218

18

19

20          PX 218.

21                       . See PX 112

22

23

24

25          70.

26                                                  PX 28; see also PX 27; PX 193.

27          71.

28


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1

2

3

4                                                                     PX 113.

5           72.                                                                 . See,

6     e.g., PX 115

7                                              PX 114

8

9

10          73.        Indeed,

11

12

13                a.

14

15

16

17

18                                                                  PX 117.

19                b.

20

21

22                                                        PX 47.

23                c.

24

25

26

27

28


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1

2

3

4

5           74.

6

7

8

9

10

11

12
      PX 30 (emphasis added).
13

14
                                                                               PX 119.
15
            75.
16

17

18

19

20

21
                                                                                   PX 193.
22
            76.   Third parties also warned Defendant. See PX 32
23

24

25
                                                ; Answer ¶ 26 (“obscurity” of fee disclosure “could
26
      make it a target” in a law enforcement action); PX 31
27
                                                               ); PX 216 (
28


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1                                                           ); PX 121 (

2

3                                   ); PX 217

4

5           77.    Defendant did not remove the claim “no hidden fees” and the masked bandit from

6     the Loan Offer page until                                      , PX 122,

7                                                                                      , PX 189, and

8     did not disclose the up-front fee on the Loan Offer page until February 28, 2019, more than ten

9     months after this suit was filed, PX 34.

10       . PX 193 115:10-14; PX 199 59:24-60:2

11          F. Defendant Collected More Than $2 Billion in Up-Front Fees.

12          78.    From April 25, 2013 through February 28, 2019, Defendant issued

13    personal loans and collected $               in hidden up-front fees from consumers on these

14    loans. PX 8 ¶ 13, Table 2.

15         II.     Defendant Told Consumers They Were Approved, Then Rejected Them.

16          A. The Online Application Told Consumers Their Loans Were “On The Way.”
17          79.    After consumers consent to a credit check and supply their social security

18    numbers and other personal information, the application flow makes statements such as

19    “Congratulations! You qualify for a loan” and “Your money will be deposited in this account.”

20    PX 203; PX 204 at 15-16; PX 35; PX 127; PX 126.

21          80.    After agreeing to the loan contract on the TILA page and providing their bank

22    account information, consumers arrive at the final page of the application flow, called the “To-

23    Do List” or “Account Summary” page. Until November 2017, on top of the Account Summary

24    page, in large type, Defendant stated: “Your $[amount] loan is on the way. What’s next?” PX 3

25    at 9. Many consumers mention this representation in complaints to Defendant stating they

26    believed their applications were or would be approved. See, e,g., PX 247, Cases 01842074,

27    4065435; PX 7 at Ex. A, Ref. No. 66552018, 78921833.

28          81.    Below the “on the way” representation, the page featured a series of graphics


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1     called the “progress bar,” including a green checkmark next to the word “FUNDING” and the

2     statements “Investors are backing your loan,” “DONE!” and “Your funds will be deposited

3     into your bank account.” Many consumers mention the progress bar in complaints, having

4     believed their applications were or would be approved. PX 247; PX 7 at Ex. A.

5           82.        In the next section, a “To-Do List” of items may appear, often asking consumers

6     to confirm information already provided to Defendant, such as their email address or bank

7     account information. Answer ¶ 34.

8                                                               . PX 35

9

10                                          . The To-Do List items are followed by a “Loan Number.”

11          83.

12

13                      . PX 125. The next slide states:

14                                                                            Id. (emphasis in original).

15          84.

16

17

18                                                                                                 PX

19    29. See also PX 124                                                      (emphasis in original)).

20          85.        Defendant

21

22                a.

23

24

25                b.

26

27

28                c.


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1

2                   d.

3                                                                                PX 37.

4           86.

5

6

7

8

9

10                                                    but this change was never made. PX 3 at 10;

11    PX 5 at 12.

12          B. Email Messages Told Consumers Their Loans Were “100% Backed.”

13          87.

14                                          PX 209.

15          88.      One version of this email (Version 1) was sent to approximately 196,000

16    consumers, Answer ¶ 38, and featured the subject line

17

18                                                             PX 128.

19          89.      Consumers who opened the email were told in large type at the top: “Your Loan

20    is 100% Backed.” Defendant stated: “Hi [name of consumer], Great news! Investors have

21    backed your loan 100%. Your money is almost in your hands. You can always visit your

22    Account Summary to view the details of your loan. Welcome to Lending Club!” Answer ¶ 37.

23          90.

24

25

26                                                                 PX 128.

27          91.

28


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1

2                                                                              PX 187.

3           92.   A

4                                                                              PX 128.

5           93.

6

7

8

9           94.   Consumers who complained that they thought they were approved or would be

10    approved specifically mentioned “100% Backed” language. See, e.g., PX 247, Cases 4247972,

11    4162205, 4406492, 02913096; PX 7 at Ex. A, Ref. Nos. 66552018, 72899599, 72900393.

12          95.

13

14                                 PX 123.

15

16                                                      PX 129.

17                                                           PX 128.

18          96.

19

20                                           PX 36.

21

22

23

24          C. Defendant Rejected Loans That Were “On The Way” Or “100% Backed.”

25          97.   After consumers completed their applications, and after Defendant made

26    representations that their loans were “on the way” or “100% backed,” Defendant conducted a

27    “back-end” approval process that often involved requests for—and evaluation of—items such

28    as tax documents, bank statements, and identity documentation. Answer ¶ 28.


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1              98.    Over time, Defendant has rejected between                    of applicants who reach

2        the back-end review process. 4

3              99.    For example, Defendant rejected approximately 43,000 consumers who received

4        the Version 1 email, i.e., 21.9% of those who received it. Answer ¶ 38.

5              100. Applicants can be rejected during back-end review even if they complete every

6        item on their To-Do Lists, Answer ¶ 40, and even if they were truthful on their applications,

7        Answer ¶ 39. See PX 133 (

8              101. Many consumers complained about being denied after they had seen Defendant’s

9        representations about loan approval. PX 247; PX 7 at Ex. A; PX 125

10

11             102. One of Defendant’s training presentations lists “My loan was removed… What

12       does that mean? I thought I was approved” among questions that customer service agents

13       should expect to receive. Answer ¶ 41; PX 125.

14

15                                                                     PX 229.

16             D. Defendant’s Approval Misrepresentations Harmed Consumers.

17             103.

18

19                               PX 193 169:22–171.

20             104. Many consumers forewent or withdrew applications to other lenders, believing

21       they had already secured loans from Defendant. See, e.g., PX 247, Cases 8875313, 4640730,

22       5433096, 02644060, 5432401. Many consumers moved forward with specific purchases for

23       which they had sought loan funds or otherwise spent money due to Defendant’s statements that

24       their loan proceeds were “on the way” or “almost in [their] hands.” See, e.g., PX 247, Cases

25       6561790, 9426583; PX 7 at Ex. A; PX 35 (focus group found that applicants “make plans”

26       based on Defendant’s statements, and in many cases, “They’ve already spent the money.”).
              III.    Defendant Made Unauthorized Withdrawals From Consumer Accounts.
27
     4
28       See PX 130                        ); PX 116                ; PX 132 (               ; PX 133
                                                                   ; PX 131

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1              A. Defendant’s Unauthorized Withdrawals Have Caused Substantial Injury.

2              105. Defendant has charged consumers without authorization. See, e.g., infra, ¶¶ 109,

3        111-112. For example:

4                     a.

5

6

7                     b.

8

9

10                                                                                       ).

11                    c.

12

13                               . See, e.g., PX 214, Cases 02450295, 02615132, 02866187.

14             106. Defendant’s unauthorized withdrawals have also caused consumers to incur

15       overdraft and NSF fees. Answer ¶ 46. 5

16                                                                    PX 138.

17             107.                                                                                    PX

18       214, Case 6326561

19                                                                                            ). See also

20       LC0154831, Cases 6265180, 6187182, 01849068, 01876434, 7170663, and 5797362.

21             108. In other instances, Defendant has required additional documents such as bank

22       statements from consumers requesting refunds, or Defendant has taken days or weeks to

23       provide refunds. See, e.g., PX 7 ¶ 8 (consumer “spent well over 40 hours on the phone” with at

24       least five agents and waited more than two weeks);

25                                                .6

26   5
         See also          ; PX 14 ¶ 10-12;
27
     6
28       See also                             PX 14 ¶ 11-14;


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1                  109. Between August 2016 and June 2019, consumers contacted their financial

2         institutions to dispute Defendant’s unauthorized ACH withdrawals        times, 7 totaling at
                                8
3         least                     PX 8 at Ex. B.

4                  110. Another lender serviced loans for

5

6

7                                                              PX 8 ¶ 9-10, Ex. B. Another lender

8         serviced loans for

9

10                                                                            . Id. Another lender

11        serviced loans for

12

13                                                                                             . Id.

14                 111.

15

16                . 9 PX 9 ¶ 11(a).                                               . Id. at ¶ 14(b).

17                 112.

18
                               10
19                                  Id. at ¶ 8(d).

20                 B. Since at Least 2015, Defendant Has Charged Consumers Twice for the Same

21   7
       One reporter of unauthorized withdrawals, the Clearinghouse, reports only entities “generating
     a high rate of consumer unauthorized returns, over 50 daily, 50 weekly and 200 monthly.” PX
22   221. Otherwise, the entities’ return levels will be reported as zero.
     8
23     The total number of Defendant’s unauthorized withdrawals is likely higher than the number of
     complaints and reports, because,                                    , not all consumers who
24   experience unauthorized withdrawals formally complain or report.               ; see also PX 213 at
     63-64.
25   9


26
     10
27

28
                             PX 9 ¶ 8(a).

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                Payment.
1
            113. Defendant claims that consumers can make changes to their payments, such as
2
      rescheduling the payment date. Answer ¶ 43.
3
            114. Defendant, however, has received complaints that it has not changed the payment
4
      date when the consumer reschedules it, and instead has added a new payment date while
5
      leaving the previous payment date intact. Id. See also PX 182.
6
                   a.
7

8

9

10

11
                   b.
12

13

14

15

16

17
            115.                                                                      . PX 145.
18
            116.
19

20

21

22

23

24
            117.
25

26

27

28


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1

2         118.

3

4

5

6

7         119.

8

9

10

11               PX 200 157:17-158:15; 159:16-20.

12        120.

13

14

15

16                                                               Id.

17        121.

18

19

20

21

22        122.

23
                                       11
24

25   11

26

27

28


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1              C. Defendant Took Unauthorized Payments from Consumers Paying Off Early.

2              123.

3                                                     See PX 161; PX 214, Cases 01934733, 01772116,

4         4200608, 4518241, 6793333, 5645258, 5837749.

5              124. A

6

7

8

9                                                                                     Id.

10             125.

11

12                     PX 182.

13             D. Defendant Took Payments From Consumers Before Their Due Date.
               126.
14
                                          . PX 224.
15

16

17
                  12
                       PX 224; PX 226; PX 201 69:2-5; Dahdah Personal Dep. 16:22-24.
18
               127. A
19

20
                                         PX 224.
21
               128.
22

23
                                                                        . PX 224.
24
               129.
25

26

27
     12
28
                                                                 . PX 231.

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1

2            130.

3

4

5            131.

6                                                                             PX 226.

7            132.

8                                                                            . PX 201 70:10-

9     15; PX 219; PX 214, Case 11616772.

10           E. Additional Evidence Indicates Systemic Problems With Unauthorized Charges.

11           133.

12

13                                                              PX 44; PX 176.

14

15

16                                                     PX 44 at 12.

17           134.

18

19                                                                     PX 227.

20

21                                                           PX 144.

22           135.

23

24                                                        PX 41.

25

26                                                                                       PX

27    166.

28


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1

2

3                                         PX 180 101:14-15; 99:11-24.)

4          IV.     Defendant Failed to Adequately Provide an Initial Privacy Notice.

5           136. Defendant is a financial institution that, among other things, services consumer

6     loans and collects nonpublic personal information from prospective borrowers.

7     Answer ¶ 48,

8           137. Until at least December 2016, the only information disclosure Defendant gave to

9     customers prior to collecting information during the application flow contained a checkbox

10    with links to its terms of use and credit report authorization (and, in later months, an ESIGN

11    Act consent). This checkbox did not mention privacy in any way; nor did any of the provided

12    links contain the privacy notice.                         Answer ¶ 11.

13

14                           PX 235 at 1-10 (Sept. 2013); PX 236 (                      ); PX 233 at

15    17-24 (                       PX 237 at 1-8 (                       PX 238 (

16      ; PX 239

17          138.

18

19

20

21                                                                                . PX 243; PX 244;

22    PX 245; see also PX 47.

23          139. In May 2016, the FTC sent a CID to Defendant inquiring about its privacy

24    disclosures. Roller Decl. ¶ 248. In December 2016, after receipt of the CID and after the

25    compliance recommendations discussed above, Defendant changed the checkbox to provide a

26    direct link to its privacy policy, labeled “Privacy Policy.” Answer ¶ 11.

27   SUMMARY JUDGMENT STANDARD
28         Summary judgment must be granted “if the movant shows that there is no genuine


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1    dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

2    Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 323-24 (1986). A genuine dispute means

3    “sufficient evidence favoring the nonmoving party for a jury to return a verdict for that party.”

4    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The nonmoving party “must do more

5    than simply show that there is some metaphysical doubt as to the material facts.” Matsushita

6    Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Material facts are “those

7    which might affect the outcome of the suit[,]” Rivera v. Philip Morris, Inc., 395 F.3d 1142, 1146

8    (9th Cir. 2005), determined by reference to substantive law. Liberty Lobby, 477 U.S. at 248.

9    ARGUMENT
10          I.      Count I: Defendant Deceived Consumers About Loan Terms.
11          To establish an FTC Act deception claim, see 15 U.S.C. § 45, the FTC must show “first,
12   there is a representation, omission, or practice that, second, is likely to mislead consumers acting
13   reasonably under the circumstances, and third, the representation, omission, or practice is
14   material.” FTC v. Stefanchik, 559 F.3d 924, 928 (9th Cir. 2009). The FTC need not prove that
15   consumers actually relied on the misleading representation, but rather, a “presumption of actual
16   reliance” arises if the defendant’s misrepresentations were “widely disseminated.” FTC v. Figgie
17   Int’l, Inc., 994 F.2d 595, 605-06 (9th Cir. 1993).
18           A. Defendant Misrepresented That Consumers Would Receive a Specific Loan
                Amount With “No Hidden Fees.”
19
            To decide whether a defendant made a challenged representation, a court must first
20
     review what consumers saw. See FTC v. Gill, 71 F. Supp. 2d 1030, 1043-44 (C.D. Cal. 1999),
21
     aff’d, 265 F.3d 944 (9th Cir. 2001). The court looks at the overall “net impression” created by a
22
     defendant, which may be “likely to mislead . . . even though the solicitation also contains truthful
23
     disclosures.” FTC v. Cyberspace.com, 453 F.3d 1196, 1200 (9th Cir. 2006). Extrinsic evidence
24
     that an advertisement conveys a particular claim is not required when, as here, the claim is
25
     conspicuous and self-evident. In re Thompson Med. Co., 104 F.T.C. 648, 788-89 (1984), aff’d,
26
     791 F.2d 189 (D.C. Cir. 1986); FTC v. QT, Inc., 448 F. Supp. 2d 908, 958 (N.D. Ill. 2006), aff’d,
27
     512 F.3d 858 (7th Cir. 2008). Courts routinely resolve this issue at summary judgment. See, e.g.,
28


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1    Cyberspace.com, 453 F.3d at 1199-201; Gill, 71 F. Supp. 2d at 1034, 1038, 1043-44; FTC v.

2    Medlab, Inc., 615 F. Supp. 2d 1068, 1077-79 (N.D. Cal. 2009); Stefanchik, 559 F.3d at 928.

3           It is undisputed that throughout its advertisements and in its online loan application,

4    Defendant promised consumers a specific loan amount—for example, $10,000—with “no hidden

5    fees.” Statement of Undisputed Material Facts (“SMF”) ¶¶ 8-12, 27-28, 32-38. Defendant began

6    its application by asking consumers, “How much do you need?” on a homepage that also

7    advertised loans “up to $40,000,” SMF ¶ 8, and continued by promising consumers they could

8    “[g]et a custom rate for your $[amount] loan.” SMF ¶ 9. On the “Loan Offer” page, Defendant

9    displayed a bolded offer of a specific “Loan Amount,” coupled with a “No hidden fees”

10   representation next to a smiling masked bandit. SMF ¶ 10-12. No mention of the up-front fee

11   appears on these pages. Id. When consumers finished the application, they were greeted with a

12   statement that, for example, “Your $10,000 loan is on the way.” SMF ¶ 28.

13          Many consumers arrived at Defendant’s loan application already having seen

14   misrepresentations about fees and loan amount in Defendant’s advertisements, including “No

15   hidden fees” representations in Defendant’s mail, email, and online advertisements and mock

16   checks made out to consumers for round numbers such as $40,000 in Defendant’s mail

17   advertisements. SMF ¶¶ 32-38. The clear net impression that borrowers take away from these

18   representations in Defendant’s application and advertisements is, in the words of

19

20                                                     . SMF ¶ 38.

21           B. Defendant’s Representation Was Likely to Mislead Consumers Acting
                Reasonably.
22
                    a. Defendant’s claim was likely to mislead because it was false.
23
            A representation is likely to mislead consumers when it is false. FTC v. John Beck
24
     Amazing Profits, LLC, 865 F. Supp 2d. 1052, 1067 (C.D. Cal. 2012). Here, Defendant
25
     represented that consumers would receive a specific loan amount with “no hidden fees,” but no
26
     consumer ever received that specific loan amount, because Defendant deducted a hidden up-front
27
     fee from each consumer’s loan proceeds. SMF ¶ 3. For example, a consumer who was told that
28
     her “$10,000 loan is on the way” would receive on average only $9,532 due to Defendant’s

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1    deduction of the hidden fee. Id. And a consumer who received

2                                               SMF ¶ 44, but would instead receive an average of

3           less, because of the hidden fee. SMF ¶ 3.

4           Defendant’s up-front fee was hidden: the only way for consumers to find it was to search

5    for fees in obscure and counterintuitive places after having been told by Defendant explicitly that

6    there was no need to do so. SMF ¶¶ 11-19, 22-26, 29-30, 35.

7               •   On the “Loan Offer” page, the up-front fee “remains hidden” behind a link in the

8                   form of a small dot, a question mark or, on a mobile device, in the form of the

9                   advertised APR. SMF ¶¶ 13-14, 16, 19. Internal documents show that

10

11                  SMF ¶¶ 15, 18.

12              •   On the TILA page, the up-front fee is hidden below the middle of the page, below

13                  the fold and between two unrelated paragraphs, on a page full of other, more

14                  prominent disclosures. SMF ¶¶ 22-25. On mobile devices, until 2017, the fee was

15                  also hidden below a large, green “I agree” button. SMF ¶ 24. Many consumers

16                                                                                      SMF ¶ 26.

17              •   On Defendant’s website, the up-front fee is hidden on its obscure “Rates & Fees”

18                  page, which is not linked either from the home page or any page in its application

19                  flow. SMF ¶ 29. Only        of applicants ever saw the page. SMF ¶ 30.

20              •   On Defendant’s mail advertisements, the up-front fee is hidden in a small-print

21                  footnote on the back of the page. SMF ¶ 35.

22          Thus, whether concealed behind an unobtrusive green dot, SMF ¶¶ 11-19, buried below

23   the fold amid unrelated and more prominent disclosures, SMF ¶¶ 22-26, or banished to a page

24   inaccessible from the online application flow, SMF ¶¶ 29-30, the few mentions of the fee that did

25   appear were secreted away in places where consumers would not notice them or would not think

26   to look. Consumers acting reasonably under the circumstances were not required to go in search

27   of hidden fees that they had been told, repeatedly, did not exist. See Stefanchik, 2007 WL

28   1058579, *5 (W.D. Wash. Apr. 3, 2007); FTC v. AMG Servs., Inc., 29 F. Supp. 3d 1338, 1350-


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1    51 (D. Nev. 2014) (online loan application was “likely to mislead borrowers acting reasonably

2    under the circumstances” because inconspicuous disclosure of loan fees was “hidden from

3    borrowers”). This is particularly true where Defendant made the claim expressly. “Reasonable

4    consumers are not required to doubt the veracity of express representations . . . .” Stefanchik,

5    2007 WL 1058579, at *5.

6                    b. Additional facts demonstrate that Defendant’s representation was likely
                        to mislead—and did in fact mislead—many consumers.
7
            Although Defendant’s loan flow itself establishes that the claim was false, and thus likely
8
     to mislead consumers, additional facts support this conclusion. The FTC need only prove that
9
     Defendant’s representation was likely to mislead consumers, Stefanchik, 559 F.3d at 928-29, not
10
     that Defendant intended to mislead them, FTC v. World Travel Vacation Brokers, Inc., 861 F.2d
11
     1020, 1029 (7th Cir. 1988), or that consumers were, in fact, misled, Cyberspace.com, 453 F.3d at
12
     1201. Nevertheless, proof of actual deception is “highly probative” to show that a practice is
13
     likely to mislead consumers acting reasonably. Cyberspace.com, 453 F.3d at 1201. And evidence
14
     that a defendant intended to convey a particular net impression creates a presumption that
15
     consumers acted reasonably in believing it. FTC v. Wash. Data Res., 856 F. Supp. 2d 1247, 1272
16
     (M.D. Fla. 2012) (citing In re Cliffdale Assocs., Inc., 103 F.T.C. 110, at *47 (1984)).
17
            Defendant’s own assessments reflect that
18
                       , SMF ¶¶ 68-69, 71
19
              , and was                                              SMF ¶¶ 70-71 (
20
                                                                                                 ). In
21
     particular, Defendant believed—with good reason—that
22

23
                                                                                                ¶¶ 66-71
24

25

26
             , Defendant chose to make loan amount and “no hidden fees” representations
27
                            . SMF ¶¶ 60-65, 72-75 (e.g.,
28


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1                                                                                      .

2           Likewise,

3                                                                                          SMF ¶¶ 53-55;

4    60                                                    But Defendant was also

5                                                                            SMF ¶¶ 64, 71

6

7

8                                                              So Defendant persisted in making

9    misleading representations and hiding the fee even in the face of explicit complaints and

10   warnings from consumers (SMF ¶¶ 45-55; 59-61),                       (SMF ¶¶ 71, 76),

11   SMF (¶ 76), and              (SMF ¶¶ 60-63), including                         SMF ¶¶ 73, 74)

12   and                  (SMF ¶ 75)

13

14

15               SMF ¶¶ 60-65

16                                          ), 72-75 (

17              , but Defendant

18   SMF ¶¶ 66-68, even though it created versions of the loan offer page for                      and

19   business customers that showed the up-front fee alongside other loan terms, SMF ¶ 20. Similarly,

20

21                                                                   SMF ¶ 17. The evidence shows

22   that Defendant intended to convey to consumers that they would receive their entire loan amount

23   with no hidden fees, and need not search for such fees. It was therefore reasonable for consumers

24   to believe just that, and act accordingly. Wash. Data Res., 856 F. Supp. 2d at 1272.

25          The evidence also shows that, due to Defendant’s misrepresentations, many consumers

26   believed that they would receive the full promised loan amount with “no hidden fees,” and were

27   thus were actually misled. More than          borrowers contacted Defendant to ask why they had

28   not received the full loan amount – so many that


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1                                               . SMF ¶¶ 45-48. Hundreds more filed formal

2    complaints,                            with third parties, SMF ¶¶ 49-50, or

3                                                                                        SMF ¶¶ 51-

4    52. See FTC v. Commerce Planet, Inc., 878 F. Supp. 2d 1048, 1072-75 (C.D. Cal. 2012), aff’d in

5    part, vacated in part on other grounds, 815 F.3d 593 (9th Cir. 2016) (finding consumer

6    complaints numbering in the thousands “highly probative evidence” of deception over

7    defendant’s argument that the complaining consumers were “an infinitesimally small

8    percentage” of its customers); FTC v. Wilcox, 926 F. Supp. 1091, 1099 (S.D. Fla. 1995) (same).

9    And such complaints are the tip of the iceberg. SMF ¶ 48; U.S. v. Offices Known as 50 State

10   Distrib. Co., 708 F.2d 1371, 1374-75 (9th Cir. 1983) (hereinafter Offices Known) (noting that

11   actual consumer complaints represent only the “tip of the iceberg”); FTC v. J.K. Publ’ns, Inc.,

12   2000 WL 35594143, *15 (C.D. Cal. Aug. 9, 2000) (“[T]here are undoubtedly injured

13   [consumers] who will never file a complaint . . . .”).

14          Defendant’s

15                                                                         . SMF ¶¶ 53-55. Its

16

17

18                                                                                        SMF ¶ 53.

19

20

21                 SMF ¶ 54. In addition,

22

23

24                              SMF ¶ 55.

25          This ample proof of actual deception, although not necessary, is “highly probative” of the

26   fact that Defendant’s loan amount and “no hidden fees” representations were “likely to mislead

27   consumers acting reasonably under the circumstances.” Cyberspace.com, 453 F.3d at 1201.

28           C. Defendant’s Representations Were Material.


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1           Representations are material if they involve “information that is important to consumers

2    and, hence, likely to affect their choice of, or conduct regarding, a product.” Cyberspace.com,

3    453 F.3d at 1201 (quoting Cliffdale, 103 F.T.C. at 165). Further, claims are presumed material

4    when they are express, FTC v. Pantron I Corp., 33 F.3d 1088, 1095-96 (9th Cir. 1994),

5    “concern[] a central characteristic of the product,” FTC v. Lights of Am., 2012 WL 13064911, at

6    *4 (C.D. Cal. Apr. 25, 2012), or “where there is evidence that the seller intended to make the

7    claim,” Kraft, Inc. v. FTC, 970 F.2d 311, 322 (7th Cir. 1992); see also FTC v. Lights of Am.,

8    2013 WL 5230681, at *41 (C.D. Cal. Sept. 17, 2013).

9           The FTC is entitled to all three presumptions of materiality here. Defendant made express

10   claims concerning the two most central characteristics of Defendant’s loans: how much money

11   consumers would receive, and how they would pay for it. See Part I.A., supra. And there is

12   ample evidence that Defendant intended consumers to understand that they would receive the

13   full loan amount with “no hidden fees.” See Part I.B, supra.

14          Even aside from the presumptions, however, the undisputed facts demonstrate that the

15   claim was material.

16

17                            . SMF ¶ 39; see also SMF ¶ 40 (

18

19

20                                                                  ). Explicit statements by consumers

21   that they would have chosen differently if not for Defendant’s misleading representations

22

23

24                                                            SMF ¶ 54; see also ¶ 41-42. Many

25   other consumers complained that they needed the promised loan amount to cover a specific

26   expense or refinance a debt of a specific amount, SMF ¶ 43. Indeed,

27

28


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1                                             . SMF ¶¶ 56-58.

2           II.     Count II: Defendant Deceived Consumers About Loan Approval
3           A. Defendant Represented That Consumers Were or Would Be Approved.
4           The same FTC Act analysis from Count I applies here, and there is no genuine issue of
5    material fact as to the first prong of deception: that Defendant made the challenged claim.
6           Defendant’s loan application strung consumers along with representations that they were
7    or would be approved, from “Congratulations! You qualify for a loan” to “Your money will be
8    deposited in this account,” even though Defendant, at that point, could still reject their
9    applications. SMF ¶¶ 79, 97-100. On the “Account Summary” page, Defendant told consumers
10   in large type across the top, “Your $[amount] loan is on the way.” SMF ¶ 80. This page also
11   featured a “Loan Number,” even though consumers did not yet have a loan, SMF ¶ 82, a green
12   checkmark next to the word “FUNDING” and the statement “Investors are backing your loan,”
13   as well as a large “DONE!” representation next to a statement that “Your funds will be deposited
14   into your bank account.” SMF ¶ 81. At the stage in the process at which Defendant made these
15   representations, consumers’ loans were not in fact “on the way,” funding of consumers’ loans
16   was not in fact complete, consumers’ loans were not in fact “DONE!”, and there was no
17   guarantee that any funds would be deposited into consumers’ bank accounts. SMF ¶¶ 97-100.
18          After consumers’ applications were complete, but before their loans were approved, SMF
19   ¶¶ 97-99, Defendant continued to tell consumers, this time by email, that they had been or would
20   be approved, SMF ¶ 87-93. Defendant sent various versions of the “100% Backed” email to
21   more than           consumers, none of whom had been approved when the email was sent. SMF
22   ¶¶ Id., 97-99. Defendant’s congratulatory statements that: “Your Loan is 100% Backed,”
23   “Hooray! Investors Have Backed Your Loan,” “Great news! Investors have backed your loan
24   100%,” and “Your money is almost in your hands” conveyed that consumers were approved or
25   were certain to receive approval, and conveyed a “net impression” of approval even in the
26   versions that also included text reminding consumers to finish any tasks on their To-Do Lists.
27   SMF ¶¶ 88-96. See Cyberspace.com, 453 F.3d at 1200 (The “net impression” of an
28   advertisement may be “likely to mislead . . . even though the solicitation also contains truthful


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1    disclosures.”).

2           Beyond the text of Defendant’s statements to consumers,

3

4

5

6

7                             SMF ¶ 84.

8

9

10

11                                                                                 SMF ¶¶ 85, 95.

12

13                                                              SMF ¶ 95.

14          B. Defendant’s Statements Were Likely to Mislead Consumers Acting Reasonably.
15          The representations discussed in Part II.A. were misleading because they were false.

16   Although Defendant represented to consumers that their applications were approved or would be

17   approved, consumers were not yet approved, and many were rejected, including approximately

18   43,000 consumers to whom Defendant sent Version 1 of the 100% Backed email. SMF ¶¶ 97-99.

19   Consumers behaved reasonably upon reading the direct language of Defendant’s loan approval

20   messaging because they had no reason to think that Defendant was still reviewing their “on the

21   way” or “backed” loans for creditworthiness. But consumers could be—and often were—

22   rejected even if they completed all of the items on their To-Do Lists, and even if all information

23   in their applications matched the information supplied in the requested documentation. 13 SMF ¶

24
     13
25     The items on the list overwhelmingly asked consumers merely to verify information already
     provided, such as their email address or bank account number; a reasonable consumer would
26   believe (and complaints indicate many consumers did believe) that the To-Do List was purely
     ministerial. SMF ¶ 82. “Disclaimers or qualifications in any particular ad are not adequate to
27   avoid liability unless they are sufficiently prominent and unambiguous to change the apparent
     meaning of the claims and to leave an accurate impression. Anything less is only likely to cause
28   confusion by creating contradictory double meanings.” Removatron Int’l Corp. v. FTC, 884 F.2d
     1489, 1497 (1st Cir. 1989).

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1    100. Defendant conducts a searching “back-end” review process after completion of consumers’

2    applications, and

3                   SMF ¶ 97-98.

4           Although no additional facts are necessary to satisfy the second prong of deception—that

5    reasonable consumers were likely misled—facts demonstrating actual deception and Defendant’s

6    knowledge thereof also exist here. Such evidence supports a finding that a claim was likely to

7    mislead. Cyberspace.com, 453 F.3d at 1201 (noting “Defendants’ internal e-mails and

8    documents show that they were aware that many of their customers” were deceived); FTC v. Ivy

9    Capital, Inc., 2013 WL 1224613, *9 (D. Nev. Mar. 26, 2013) (noting “defendants were aware

10   of” complaints about their practices), aff’d in part, vac’d in part, 616 F. App’x 360.

11          Many consumers complained—many specifically quoting the “100% Backed” or “loan is

12   on the way” language—and Defendant acknowledged

13                                                                                             SMF ¶

14   101.

15

16                       . SMF ¶ 102.

17                                         SMF ¶¶ 85, 95.

18

19

20                                       SMF ¶ 96.

21          The record also contains a surfeit of evidence showing that Defendant

22

23   (emphasis in original)                                     . SMF ¶¶ 83-84.

24                          it was put on notice by consumers (SMF ¶¶ 80-82, 94, 96, 101), a

25                                                                              that its representations

26   were misleading, but                                                               . SMF ¶¶ 80,

27   95. And Defendant

28


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1                                                                                            SMF ¶ 85.

2           Thus, although proof of actual deception is not necessary, the undisputed evidence of

3    actual deception here is highly probative of the fact that Defendant’s approval representations

4    were “likely to mislead” reasonable consumers. See Cyberspace.com, 453 F.3d at 1201.

5           C. Defendant’s Representations About Loan Approval Were Material.

6           Representations are material if they involve “information that is important to consumers

7    and, hence, likely to affect their choice of, or conduct regarding, a product.” Cyberspace.com,

8    453 F.3d at 1201 (quoting Cliffdale, 103 F.T.C. at 165). Courts frequently find representations

9    material when they concern a consumer’s likelihood of achieving a desired result – here, the

10   certainty of being approved for a loan. See, e.g., FTC v. Infinity Grp. Servs., 2010 WL 11515164,

11   *6 (C.D. Cal. Sept. 9, 2010); FTC v. Lanier Law, LLC, 194 F. Supp. 3d 1238, 1275 (M.D. Fla.

12   2016); FTC v. Mortg. Relief Advocates LLC, 2015 WL 11257575, *4 (C.D. Cal. July 1, 2015).

13          It is beyond dispute that Defendant’s loan approval representations were material to

14   consumers in that they were “likely to affect their . . . conduct regarding[ the] product.”

15   Cyberspace.com, 453 F.3d at 1201. In their complaints, many consumers specifically state as

16   much or describe actions taken due to Defendant’s representation, such as making purchases or

17   turning down other loan offers. SMF ¶ 104.

18          III.    Count III: Defendant Withdrew Money from Accounts Without Consent.
19          The undisputed evidence proves each element of the FTC’s unfairness claim. An unfair

20   practice or act is one that (1) causes or is likely to cause substantial injury to consumers, (2) is

21   not reasonably avoidable by consumers themselves, and (3) is not outweighed by countervailing

22   benefits to consumers or to competition. FTC v. Neovi, Inc., 604 F.3d 1150, 1155 (9th Cir. 2010)

23   (“Neovi I”) (citing 15 U.S.C. § 45(n)).

24           A. Defendant’s Unauthorized Withdrawals Substantially Injure Consumers.
            Under the FTC Act, consumers suffer a substantial injury when they are “injured by a
25
     practice for which they did not bargain.” Neovi I, 604 F.3d at 1157. Courts have repeatedly held
26
     that billing customers without permission causes injury under the FTC Act. See FTC v.
27
     Amazon.com, Inc., 2016 WL 10654030, *8 (W.D. Wash. July 22, 2016) (collecting cases). A
28


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1    practice can cause substantial injury “if it raises a significant risk of concrete harm”—which can

2    include a “very severe harm to a small number” of people—or if it causes “a small harm to a

3    large number of people.” In re Int’l Harvester, 104 FTC at 1064, 1073 n.12, available at 1984

4    WL 565290 at *90 & n.55. See also Neovi I, 604 F.3d at 1157-58. Defendant’s unauthorized

5    withdrawals caused substantial injury by either measure.

6           Defendant’s unauthorized withdrawals raised a significant risk of concrete harm,

7    including by imposing very severe harm. It has charged consumers

8

9

10                                                                      . (SMF ¶¶ 105-106, 112-134).

11          The time spent by consumers pursuing refunds of unauthorized withdrawals and fees

12   constitutes additional substantial injury. FTC v. Neovi, Inc., 598 F. Supp. 2d 1104, 1115 (S.D.

13   Cal. 2008) (“Neovi II”) ; FTC v. Inc21.com Corp., 745 F. Supp. 2d 975, 1004 (N.D. Cal. 2010).

14

15                                           . SMF ¶¶ 107-108.

16                                     Id.

17

18

19                                       SMF ¶114.b. See also ¶ 114.a

20          While such severe harm is sufficient to establish significant risk of concrete harm,

21   Defendant also has caused harm to a large number of people.

22

23               SMF ¶109.

24

25

26   SMF ¶ 111-112.

27

28                . SMF ¶ 126-132. These are necessarily undercounts for a number of reasons: not


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1    all consumers complain or seek relief, SMF ¶ 109 n.8, and not all of Defendant’s unauthorized

2                                                               SMF ¶ 111 n.9. See Amazon, 2016 WL

3    10654030 at *8 (“Amazon’s argument conflates complaints with the total universe of injury.”);

4    Offices Known, 708 F.2d at 1374-75; J.K. Publ’ns, Inc., 2000 WL at 35594143, *15.

5            B. Consumers Could Not Reasonably Avoid the Unauthorized Withdrawals.

6           Consumers whose bank accounts are accessed without authorization “suffer[]

7    unavoidable injuries.” Neovi I, 604 F.3d at 1158. Courts have repeatedly held that “the burden

8    should not be placed on defrauded consumers to avoid charges that were never authorized to

9    begin with.” Inc21.com, 745 F. Supp. 2d at 1004 (citing cases).

10          Consumers cannot reasonably avoid Defendant’s charging them without authorization,

11   nor could they avoid the injury of

12              . SMF ¶ 106, 113-114, 115-116, 123, 126-127. To the extent consumers were able to

13   obtain refunds, SMF ¶ 107, they could not reasonably avoid

14

15        . Neovi I, 604 F.3d at 1158.

16           C. The unauthorized withdrawals are not outweighed by countervailing benefits.
            The countervailing benefits prong of the unfairness standard “is easily satisfied ‘when a
17
     practice produces clear adverse consequences for consumers that are not accompanied by an
18
     increase in services or benefits to consumers or benefits to competition.’” Neovi II, 598 F. Supp.
19
     2d at 1116 (quoting J.K. Publ’ns, 99 F. Supp. 2d at 1201). Courts have repeatedly found either
20
     that unauthorized billing has no countervailing benefits at all, or that any such benefits are
21
     outweighed by the harm of taking money from consumers without their consent. See, e.g., Neovi
22
     I, 604 F.3d at 1158-59; Amazon.com, 2016 WL10654030 at 10-11; J.K. Publ’ns, 99 F. Supp. 2d
23
     at 1203; Inc21.com, 745 F. Supp. 2d at 1004.
24
            As in other unauthorized billing cases, consumers receive no countervailing benefits from
25
     Defendant’s practice of charging them without authorization. There is no cognizable benefit to
26
     charging
27
                       . The cost of the practice, on the other hand, is significant and concrete,
28


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1    including lost access to

2                    . 14 Where, as here, “a practice produces clear adverse consequences for consumers

3    that are not accompanied by an increase in services or benefits to consumers or by benefits to

4    competition,” this element of unfairness is “easily satisfied.” Neovi II, 598 F. Supp. 2d at 1116.

5              IV.    Count IV: Defendant Violated the GLB Act and Implementing Rules
                      Because It Did Not Disclose or Provide Its Privacy Policy to Applicants.
6
               The GLB Act and its implementing regulations, the Privacy Rule, 16 C.F.R. § 313, and
7
     Regulation P, 12 C.F.R. § 1016, apply to Defendant because it is a financial institution 15 that
8
     collects customers’ nonpublic personal information, 15 U.S.C. §§ 6801-03; 16 C.F.R. § 313.1;
9
     12 C.F.R. § 1016; SMF ¶ 136.
10
               Defendant violated the Privacy Rule’s requirement that a financial institution disclose its
11
     privacy practices to consumers. 16 C.F.R. § 313.6; 12 C.F.R. § 1016.6. The statute and
12
     regulations require the financial institution to provide a “clear and conspicuous” notice of its
13
     privacy policies and practices no later than the establishment of a customer relationship. 15
14
     U.S.C. § 6803(a); 16 C.F.R. § 313.4; 12 C.F.R. § 1016.4(a). Additionally, the implementing
15
     rules require the institution to provide the initial notice “so that each consumer can reasonably be
16
     expected to receive actual notice.” 16 C.F.R. § 313.9(a); 12 C.F.R. § 1016.9(a).
17
               Defendant satisfied neither requirement. SMF ¶ 137. Indeed, Defendant’s violation was
18
     evident                                                      . SMF ¶ 138. Defendant first included
19
     a mention of, and link to, its privacy policy within the application flow
20
                                                                               it received a CID from the
21
     FTC in May 2016 inquiring about its privacy disclosure practices. SMF ¶ 139.
22             V.     Defendant Is Liable for Injunctive and Equitable Monetary Relief.
23             Pursuant to Section 13(b) of the FTC Act, this Court may grant permanent injunctive
24   relief for violations of any provision of law enforced by the FTC, and has broad equitable
25
     14
        Defendant’s unauthorized withdrawal rate is higher than other large lenders. SMF ¶ 1.109-
26   1.110.
     15
27      See 16 C.F.R. § 313.3(k)(1) (defining “financial institution” as an institution engaged in
     financial activities described in 12 U.S.C. § 1843(k)); 12 C.F.R. § 1016.3(l)(same); 12 C.F.R.
28   § 225.28(b)(1) (implementing 12 U.S.C. § 1843(k) and describing “servicing loans” as a
     financial activity).

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1    authority “to grant any ancillary relief necessary to accomplish complete justice.” FTC v. H.N.

2    Singer, Inc., 668 F.2d 1107, 1113 (9th Cir. 1982); see also Pantron, 33 F.3d at 1102. Such relief

3    includes equitable monetary relief such as restitution, rescission of contracts, or disgorgement.

4    See Pantron, 33 F.3d at 1102.

5            A. Injunctive Relief Preventing Future Violations Is Warranted.
6           Pursuant to Section 13(b) of the FTC Act, “[a] permanent injunction is justified if there
7    exists ‘some cognizable danger of recurrent violation,’ or ‘some reasonable likelihood of future
8    violations.’” FTC v. OMICS Grp. Inc., 374 F. Supp. 3d 994, 101314 (D. Nev. 2019) (quoting
9    United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953); see also Gill, 71 F. Supp. 2d at 1047.
10   “In determining the likelihood of recurring violations, the court may consider past unlawful
11   conduct as well as the ‘totality of the circumstances.’ Where the ‘violation has been predicated
12   upon systematic wrongdoing, rather than isolated occurrences, a court should be more willing to
13   enjoin future conduct.’” FTC v. DiscountMetalBrokers Inc., 2017 WL 6940502, at *7 (C.D. Cal.
14   Oct. 13, 2017) (quoting Gill, 71 F. Supp. 2d at 1047); see also OMICS, 374 F. Supp. 3d at 1014.
15          The Ninth Circuit has held that “it is actually well-settled ‘that an action for an injunction
16   does not become moot merely because the conduct complained of was terminated, if there is a
17   possibility of recurrence, since otherwise the defendants would be free to return to their old
18   ways.’” FTC v. Affordable Media, 179 F.3d 1228, 1237 (9th Cir. 1999) (emphasis in original)
19   (quoting FTC v. Am. Standard Credit Sys., Inc., 874 F. Supp. 1080, 1087 (C.D. Cal. 1994).
20   Similarly, cessation of misconduct after learning of an investigation does not rebut likelihood of
21   recurrence. See, e.g., FTC v. Sage Seminars, 1995 WL 798938, at *6 (N.D. Cal. Nov. 2, 1995).
22          The reasonable likelihood of Defendant violating the law absent injunctive relief is high.
23   Defendant misrepresented the core features of its loan product (the amount consumers will get
24   and what they will pay) for years, despite a high number of complaints and
25   warnings. Defendant
26                                                                        , SMF ¶¶ 59-75, and
27                                    , SMF ¶ 77. Indeed, despite
28   complaints since at least       it continued misrepresenting the fee deducted from consumers’


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1    loan amounts           , raking in                        in hidden fees in

2          SMF ¶ 78. 16 Defendant also charged consumers without authorization              , despite

3

4                       , SMF ¶¶ 105-135, misrepresented that consumers were approved in the face

5    of similar              complaints, SMF ¶¶ 80-102, and violated the GLB Act despite

6                                           , SMF ¶¶ 137-139.

7           Accordingly, Parts I-III of the FTC’s proposed order would restrain Defendant from

8    further violations of the law. Part I.A. would require Defendant to refrain from making

9    misrepresentations in the course of marketing or offering an extension of credit, including with

10   respect to the existence and amount of Defendant’s fees and the approval status of loan

11   applications. Similarly, Part I.B. would require Defendant to clearly disclose the dollar amount

12   of any up-front fees associated with a loan, along with the total dollar amount disbursed to the

13   consumer. Part II would prohibit Defendant from withdrawing funds from consumers’ accounts

14   without their express, informed consent. Part III would require Defendant to comply with the

15   GLB Act. The balance of the FTC’s proposed order contains monetary relief, discussed below,

16   and monitoring and recordkeeping provisions common in FTC law enforcement matters. 17

17           B. Defendant Must Repay the Hidden Fees It Took From Consumers.

18          As demonstrated above, Defendant represented that consumers would receive a specific

19   loan amount with no hidden fees, but then charged a hidden fee. The Court should order

20   Defendant to return that fee.

21          The Ninth Circuit authorizes and instructs district courts to order consumer restitution

22   against those who violate the FTC Act. Stefanchik, 559 F.3d at 931-32. 18 This unwinds, insofar

23   16
        These facts are also sufficient to dispose of Defendant’s “mootness” defense (Affirmative
     Defense No. 8), because the standard for mootness is even higher than a mere likelihood of
24   recurrence. Public Utilities Comm’n v. FERC, 100 F.3d 1451, 1460 (9th Cir. 1996). Thus, facts
     proving a likelihood of recurrence necessarily disprove a mootness defense, and the FTC is
25   entitled to summary judgment on this defense.
     17
26      See, e.g., FTC v. AMG Servs., Inc., 2016 WL 5791416, *16-18 (D. Nev. Sept. 30, 2016), aff’d
     sub nom FTC v. AMG Capital Mgmt., LLC, 910 F.3d 417 (9th Cir. 2018); John Beck Amazing
27   Profits, 865 F. Supp. 2d at 1016; Ivy Capital, 2013 WL 1224613 at *3; FTC v. Wellness Support
     Network, Inc., 2014 WL 644749, at *20-22 (N.D. Cal. Feb. 19, 2014).
28   18
        See also AMG Capital, 910 F.3d at 426 (“We have repeatedly held that § 13 ‘empowers
     district courts to grant any ancillary relief necessary to accomplish complete justice, including

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1    as possible, the manner in which “[t]he seller’s misrepresentations tainted the customer’s

2    purchasing decision.” Figgie, 994 F.2d at 606. Importantly, it is the “fraud in the selling, not the

3    value of the thing sold,” that makes Defendant’s gains unjust and entitles consumers to

4    reimbursement. Id. There is a “two-step burden-shifting framework . . . for calculating

5    restitution awards under § 13(b).” Commerce Planet, 815 F.3d at 603. The FTC must first set

6    forth a reasonable approximation of restitution. Id. “If the FTC makes the required threshold

7    showing, the burden then shifts to the defendant” to show that the approximation is overstated.

8    Id. at 604. “Any risk of uncertainty at this second step fall[s] on the wrongdoer whose illegal

9    conduct created the uncertainty.” Id. (internal quotation mark omitted). It is appropriate and

10   routine for courts to grant monetary relief at the summary judgment stage. 19

11            Under the first step of the FTC Act monetary redress framework, the FTC need only

12   show “that the amount it seeks in restitution reasonably approximates the defendant’s unjust

13   gain, which is measured by ‘the defendant’s net revenues, not the defendant’s net profits.’” 20

14   AMG Capital, 910 F.3d at 427 (quoting Commerce Planet, 815 F.3d at 603). In many cases, “the

15   defendant’s unjust gain ‘will be equal to the consumer’s loss.’” Commerce Planet, 815 F.3d at

16   603. When approximating the amount of unjust gains or consumer harm, the FTC is not required

17   to prove each consumer’s individual reliance on the defendant’s misrepresentations; rather, “a

18   presumption of actual reliance arises once the Commission has proved that the defendant made

19   material misrepresentations, that they were widely disseminated, and that consumers purchased

20   the defendant’s product.” Figgie, 994 F.2d at 605-06. 21 Here, this presumption squarely applies:

21

22   restitution.’”) (quoting FTC v. Commerce Planet, Inc., 815 F.3d 593, 598 (9th Cir. 2016));
     Figgie, 994 F.2d at 605.
23   19
         See, e.g., AMG Capital, 910 F.3d at 428 (affirming summary judgment order granting FTC
24   $1.3 billion in equitable monetary relief); FTC v. Inc21.com Corp., 475 F. App’x 106, 108-09
     (9th Cir. 2012); Neovi I, 604 F.3d at 1159-60; Stefanchik, 559 F.3d at 931-32.
25   20
        See also FTC v. OMICS Grp. Inc., 374 F. Supp. 3d 994, 1014 (D. Nev. 2019) (“Consumer loss
     is calculated by ‘the amount of money paid by the consumers, less any refunds made.’”); FTC v.
26   Stefanchik, 559 F.3d at 931 (“We are unpersuaded by the defendants’ assertion that they should
     not be liable for the full amount of Atlas’ sales.”); FTC v. Gill, 265 F.3d 944, 958 (9th Cir. 2001)
27   (“In the absence of proof of ‘actual damages,’ the court properly used the amounts consumers
     paid as the basis for the amount Defendants should be ordered to pay for their wrongdoing.”).
28
     21
          See also Commerce Planet, 815 F. 3d at 604 (“The FTC proved that Commerce Planet made

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1    Defendant’s material misrepresentation is set forth in Part I, supra, there is no genuine dispute

2    that Defendant’s misleading advertisements and loan application documents were widely

3    disseminated, and the FTC only seeks relief for consumers who borrowed from Defendant.

4           Where, as here, the FTC Act violation stems from charging consumers a misleading or

5    undisclosed fee, courts commonly award the return of the fee. In FTC v. AMG Services, Inc., the

6    defendants represented that their payday loans would cost one finance charge, but charged most

7    consumers multiple finance charges. 29 F. Supp. 3d 1338, 1345, 1351 (D. Nev. 2014), aff’d, 910

8    F.3d 417 (9th Cir. 2018). The district court ordered, and the Ninth Circuit affirmed, monetary

9    relief at summary judgment in the full amount that all consumers paid above the stated loan

10   cost—$1,317,753,577. AMG Servs., 2016 WL 5791416, at *12-13, aff’d, 910 F.3d 417.

11   Similarly, in FTC v. OMICS, the defendant ran purported academic journals that solicited articles

12   for publication and charged authors hidden fees. OMICS, 374 F. Supp. 3d at 1012. The court

13   ordered monetary relief in the entire amount of hidden fees the authors paid. Id. at 1015-16. In

14   FTC v. EDebitPay, LLC, the court found that that the defendants deceived consumers into paying

15   inadequately disclosed fees for prepaid credit cards. 2011 WL 486260, at *3-8 (C.D. Cal. Feb.

16   3, 2011). The court awarded return of all the fees (minus refunds), id. at *13, and the Ninth

17   Circuit affirmed, 695 F.3d 938, 945 (9th Cir. 2012).

18          Here, Defendant charged a hidden origination fee on each consumer’s loan, and interest

19   on the entire amount, including on the hidden fee. Defendant’s net revenue from the hidden fee

20   alone from April 2013 through February 2019 is                    . SMF ¶ 78. To account for

21   consumers who may have unearthed the fee despite Defendant’s claims, the FTC’s calculation of

22   Defendant’s unjust gain and harm to consumers is                      Although there is no

23   evidence in the record quantifying the number of consumers who may have hunted for and found

24   the hidden fee, this calculation accounts for the percentage        of borrowers who viewed

25

26
     material misrepresentations . . . and that the misrepresentations were widely disseminated. As a
27   result, the FTC was entitled to a presumption that all consumers who purchased [the product] did
     so in reliance on the misrepresentations.”).
28


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1    Defendant’s Rates and Fees page. SMF ¶ 30. In addition to that conservative allowance for the

2    Rates and Fees page “disclosure,” 22 this measure of consumer loss includes only five years of

3    loan activity preceding the complaint—though no limitations period applies 23 and Defendant’s

4    misconduct stretched back before this time period. It also excludes the interest Defendant

5    collected on the hidden up-front fee over the life of each loan—though Defendant charged

6    interest on the amounts it never provided to its borrowers. The FTC also does not include any

7    calculation of unjust gains attributable to Defendant’s deception with respect to certainty of loan

8    approval (Count II) or unfair payment processing (Count III).

9           In sum, the FTC has reasonably approximated Defendant’s unjust gain and harm caused

10   to consumers in the amount of                     To the extent Defendant points to evidence

11   showing that this approximation overstates consumer loss, the FTC will address any such

12   evidence in its reply and, if needed, adjust its calculation to aid resolution of this case by

13   summary judgment. 24

14   CONCLUSION
15          The FTC respectfully requests that the Court grant summary judgment in its favor on all
16   four Counts and enter the proposed order.
17

18   Dated: February 27, 2020                       /s/ Katharine Roller
                                                    KATHARINE ROLLER
19                                                  LEAH FRAZIER
                                                    JASON SCHALL
20                                                  HELEN CLARK
                                                    Federal Trade Commission
21                                                  600 Pennsylvania Avenue, N.W.
                                                    Washington, D.C. 20580
22
     22
23      The different versions of the Rates and Fees page disclose the origination fee to a limited
     extent. (SMF ¶¶ 29-30.) Given that the Rates and Fees page was located outside the application
24   flow, and that Defendant made repeated misrepresentations regarding the loan amount in its
     advertising and within the application flow that that were only obliquely “corrected” by the
25   language on the Rates and Fees page, the Court could in its discretion disallow a reduction in the
     redress amount for those page visits.
26   23
             FTC v. Dantuma, 748 F. App’x 735, 739 (9th Cir. 2018) (FTC Act contains no statute of
     limitations); FTC v. AMG Servs. Inc., 2017 WL 1704411, *5 (D. Nev. May 1, 2017).
27   24
        Prejudgment interest is recoverable for FTC restitution awards; the FTC requests leave to
28   calculate prejudgment interest as of the date of any judgment awarded in its favor. Ivy Capital,
     2013 WL 1224613, at *17, aff’d in part and vacated on other grounds, 616 F. App’x at 361.

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1                                    CERTIFICATE OF SERVICE

2           I, Katharine Roller, certify that on February 27, 2020, I electronically filed the foregoing

3    Plaintiff’s Notice of Motion, Motion for Summary Judgment, and Memorandum in Support

4    Thereof with the Clerk of Court using the CM/ECF system, which will send notification of such

5    filing to counsel of record.

6                                                                 By: /s/ Katharine Roller

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